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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
Plaintiff,

CHARLES E. BROWN, JEFFREY BURKS,
ANTONIO COLON, JAMES DEMOSS, JAMESON
DIXON, CLARK FAULKNER, KENNETH GEORGE,
LEONARD GREGORY, MARSHUN HILL, MACK
LEONARD, CEDRIC MUSE, LAROY
WASHINGTON, DARRELL WILLIAMS, CHARLES
WOODS and MICHAEL WOODS,

Intervening Plaintiffs,

v. Case No. 09 CV 7693

YELLOW TRANSPORTATION, INC. and YRC, Inc., Magistrate Judge Cox

Defendants,

CHARLES BROWN, JEFFERY BURKS,
ANTONIO COLON, JAMES DEMOSS,
JAMESON DIXON, CLARK FAULKNER,
KENNETH GEORGE, LEONARD GREGORY,
MARSHUN HILL, CEDRIC MUSE,
LAROY WASHINGTON, DARRELL WILLIAMS,
CHARLES WOODS, MICHAEL WOODS, MACK
LEONARD, on behalf of themselves and similarly
situated African-American employees,

Plaintiffs,

Case No. 08 CV 5908

Magistrate Judge Cox

Vv.

YELLOW TRANSPORTATION, INC., and YRC, INC.,
Defendants.

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CONSENT DECREE

THE LITIGATION

L, Plaintiff Equal Employment Opportunity Commission (the “EEOC”) filed suit

(case number 09 CV 7693) against Defendants, Yellow Transportation, Inc. and YRC Inc., d/b/a
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YRC Freight (collectively “YRC” or the “Defendant”), under Title VII of the Civil Rights Act of
1964 (“Title VII’), 42 U.S.C. § 2000¢e, et seg., (the “EEOC Chicago Ridge Title VII case”),
alleging that YRC discriminated against African-American employees at its Chicago Ridge
facility. EEOC alleged that YRC violated Title VII by unlawfully discriminating against a class
of Black employees by fostering a hostile work environment based upon race, and unlawfully
discriminated against its Black employees in the terms and conditions of employment. On
October 6, 2010, current and former YRC employees Charles E. Brown, Jeffrey Burks, Antonio
Colon, James DeMoss, Jameson Dixon, Clark Faulkner, Kenneth George, Leonard Gregory,
Marshun Hill, Mack Leonard, Cedric Muse, Laroy Washington, Darrell Williams, Charles
Woods and Michael Woods (“Intervening Plaintiffs”) filed a Complaint in Intervention in
EEOC’s action alleging that YRC violated Title VII by unlawfully discriminating against them
individually by fostering a hostile work environment based upon race, and unlawfully
discriminated against them in the terms and conditions of their employment at Chicago Ridge.

2. Prior to the EEOC Chicago Ridge Title VII case, on October 15, 2008, 14 of the
15 Intervening Plaintiffs filed a Complaint (case number 08 CV 5908), alleging that YRC had
violated Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981 (“Section 1981”), by
discriminating against them and a class of current and former Black employees who worked on
the dock or in the yard (as spotters) at Chicago Ridge (the “Chicago Ridge Section 1981 case”).
On July 10, 2010, the Court allowed Mack Leonard to join in the Chicago Ridge Section 1981
case as a Named Plaintiff and allowed the Named Plaintiffs to file their Corrected Amended
Complaint (“Amended Complaint”).

3h On May 11, 2011, the Court in the Chicago Ridge Section 1981 case certified a

class of Black employees who had worked at the Chicago Ridge facility under Rule 23(b)(3) of

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the Federal Rules of Civil Procedure, defined as follows:

All current and former African-American employees employed between
October 15, 2004, and the present by YRC Inc. and Yellow
Transportation, Inc., on its docks, in offices located on or near the docks,
or in the yard in the positions of dock worker, hostler, spotter, janitor,
supervisor, or clerical (including as a “casual,” “10%,” “regular,” full-time
or other employee) at their facility located at 10301 S. Harlem Ave.,
Chicago Ridge, Illinois (“Chicago Ridge”) and including those Chicago
Ridge African-American employees transferred in 2009 to work at the
facility located at 2000 Lincoln Highway, Chicago Heights, Illinois
(“Chicago Heights”).

4, The EEOC Chicago Ridge Title VII case and the Chicago Ridge Section 1981
case have been consolidated for purposes of entering this Consent Decree (the “Decree”). Class
Notice was issued to the Chicago Ridge Section 1981 case class on March 15, 2012, and it
required any individual desiring to opt-out of the class to notify Section 1981 Class Counsel,
before May 15, 2012, of their desire to opt-out. No member of the class opted-out of the
certified class, and YRC faces no additional exposure for Section 1981 claims of current or
former African-American YRC employees, as described in the certified class, arising on or after
October 2004.

3, In the interest of resolving this matter, and as a result of having engaged in
comprehensive settlement negotiations, all Parties in all of the above cases have agreed that these
actions pertaining to Chicago Ridge should be finally resolved by Entry of this Decree.

6. By entering into this Decree, no party makes any admission regarding any claims
or potential claims or any defenses thereto.

Ts This Decree fully and finally resolves any and all issues and claims arising out of

the Complaints, Amended Complaints, and Complaints in Intervention in the EEOC Chicago

Ridge Title VII case and the Chicago Ridge Section 1981 case.

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DEFINITIONS

8. In addition to the terms defined elsewhere in the Consent Decree, the following
terms shall have the following meanings:

A. “EEOC Settlement Class” shall mean those individuals who submitted
claims to EEOC and who also were identified to YRC’s Counsel in the EEOC Chicago Ridge
Title VII case.

B. “Section 1981 Settlement Class” shall mean all current and former African-
American employees employed between October 15, 2004, and the present by YRC Inc. and Yellow
Transportation, Inc., on its docks, in offices located on or near the docks, or in the yard in the
positions of dock worker, hostler, spotter, janitor, supervisor, or clerical (including as a “casual,”
“10%,” “regular,” full-time or other employee) at Chicago Ridge and including those Chicago Ridge
African-American employees transferred in 2009 to work at Chicago Heights.

Ci “Settlement Class” shall mean the combined EEOC Settlement Class and
the Section 1981 Settlement Class.

D. “Intervening Plaintiffs” shall mean Charles Brown, Jeffrey Burks, Antonio
Colon, James DeMoss, Jameson Dixon, Clark Faulkner, Kenneth George, Leonard Gregory,
Marshun Hill, Mack Leonard, Cedric Muse, Laroy Washington, Darrell Williams, Charles
Woods, and Michael Woods.

E, “Intervenors’ Counsel” refers to Carol Coplan Babbitt, Catherine A.
Caporusso, Randall D. Schmidt, and the University of Chicago’s Edwin F. Mandel Legal Clinic.

F. “Section 1981 Named Plaintiffs” refers to Charles Brown, Jeffrey Burks,

Antonio Colon, James DeMoss, Jameson Dixon, Clark Faulkner, Kenneth George, Leonard

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Gregory, Marshun Hill, Mack Leonard, Cedric Muse, Laroy Washington, Darrell Williams,

Charles Woods, and Michael Woods.

G. “Section 1981 Class Counsel” refers to Carol Coplan Babbitt, Catherine
A. Caporusso, Randall D. Schmidt, and the University of Chicago’s Edwin F. Mandel Legal
Clinic.

Bi; “Defendant” or “Company” shall mean Yellow Transportation, Inc. and

YRC, Inc. d/b/a YRC Freight, and any of their predecessors or successors in interest.

I; “Parties” means EEOC, Intervening Plaintiffs, Section 1981 Named

Plaintiffs, and Defendant.

Js “Plaintiffs” means EEOC, Intervening Plaintiffs, and the Section 1981
Named Plaintiffs.
K. “Claimant” means each member of the Settlement Class who timely

submits a claim form.

De “Preliminary Approval” of the Consent Decree means the date when the
United States District Court for the Northern District of Illinois has granted conditional approval
of the proposed Consent Decree, subject to notice and a Fairness Hearing with regard to the
Chicago Ridge Section 1981 case class settlement.

M. “Final Approval of the Consent Decree” means the date when notice is
received by the Parties through the Court’s ECF system that the United States District Court for
the Northern District of Illinois, Eastern Division has held a Fairness Hearing with regard to the
settlement, has approved the settlement under Rule 23(e) of the Federal Rules of Civil Procedure,

and has granted final approval of the Decree.

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N. “YRC’s Chicago Heights operation” means YRC’s existing Chicago
Heights break bulk facility located at 2000 East Lincoln Highway, Chicago Heights, Illinois
60411.

O. “Settlement Fund” means the monetary fund set up for the purpose of
providing monetary awards to Claimants and out of which Intervening Plaintiffs/Named
Plaintiffs and Section 1981 Class Counsel will be paid.

F, “Approval of Distribution” means the date the Parties receive notice
through the Court’s ECF system that the United States District Court for the Northern District of
Illinois, Eastern Division has approved the distribution of the settlement fund.

Q. “YRC’s Chicago break bulk dock operation” means (i) YRC’s existing
Chicago Heights break bulk facility located at 2000 East Lincoln Highway, Chicago Heights,
Illinois 60411, and (ii) if the existing Chicago Heights break bulk facility is closed down or
substantially moved to another YRC break bulk facility within fifty (50) miles of the existing
Chicago Heights facility, then any additional YRC break bulk facility where more than fifty (50)
percent of the African-American workers at the YRC break bulk facility are members of the
Settlement Class.

FINDINGS
9. Having carefully examined the terms and provisions of this Decree, and based on
the pleadings, record, and stipulations of the Parties, the Court finds the following:

a. This Court has jurisdiction of the subject matter of the EEOC Chicago

Ridge Title VII case, the Chicago Ridge Section 1981 case, and of the Parties in each case.

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b. The terms of this Decree are adequate, fair, reasonable, equitable, and just.
The rights of EEOC, YRC, the Intervening Plaintiffs, the EEOC Settlement Class, the Section
1981 Settlement Class, and the public interest are adequately protected by this Decree.

¢: This Decree conforms to the Federal Rules of Civil Procedure, Title VII,
and Section 1981, and is not in derogation of the rights or privileges of any person. The Entry of
this Decree will further the objectives of Title VII and Section 1981, and will be in the best
interests of EEOC, YRC, the Intervening Plaintiffs, the EEOC Settlement Class, the Section

1981 Settlement Class, and the public.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

MONETARY RELIEF

10. The aggregate sum of Eleven Million Dollars ($11,000,000.00) shall be
distributed to the Claimants, Intervening Plaintiffs/Named Plaintiffs, and the Section 1981 Class

Counsel in accordance with the terms of this Decree.

ESTABLISHMENT OF SETTLEMENT FUNDS & MONETARY ALLOCATION

11. By July 15, 2012, Defendants shall pay the aggregate sum of Five Million Five
Hundred Thousand Dollars ($5,500,000.00) (the “Initial Payment’). The Initial Payment shall be
deposited by wire transfer into an account held in trust as set forth in Paragraph 12 below and
administered by EEOC and the Section 1981 Class Counsel under the Court’s supervision, which
shall constitute the Settlement Fund for the purpose of providing monetary awards to Claimants,
Intervening Plaintiffs/Named Plaintiffs, and Section 1981 Class Counsel. The Settlement Fund
shall be established at Seaway National Bank of Chicago (or such other institution identified by

EEOC and Section 1981 Class Counsel). Any interest accrued by the Settlement Fund will be

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used to pay expenses associated with the administration of the Settlement Fund. Any interest in
excess of the costs of administration shall be distributed to Claimants and Intervening
Plaintiffs/Named Plaintiffs in accordance to the distribution plan approved by the Court. Other
than withdrawal of accrued interest to pay expenses associated with the administration of the
Settlement Fund, all payments from this Settlement Fund shall go to Claimants, Intervening
Plaintiffs/Named Plaintiffs, and Section 1981 Class Counsel only in accord with the distribution
approved by the Court pursuant to Paragraphs 16, 36, and 38 below.

12. The Settlement Fund shall be an irrevocable trust under Illinois law and a
Qualified Settlement Fund under Section 468B of the Internal Revenue Code and shall be
administered by EEOC and the Section 1981 Class Counsel under the Court’s supervision.

13. By November 15, 2012, or within 30 days after Final Approval, whichever is
later, Defendants shall pay by wire transfer to the Settlement Fund an additional aggregate sum
of Five Million Five Hundred Thousand Dollars ($5,500,000.00).

14. | Within 5 business days of Approval of Distribution, Intervenors’ Counsel/Section
1981 Class Counsel shall be paid a sum of One Million One Hundred Thousand Dollars
($1,100,000.00) out of the Settlement Fund. This payment is payment in full for Intervenors’
Counsel/Section 1981 Class Counsel claims for attorneys’ fees and costs incurred in connection
with their representation of the Intervening Plaintiffs, the Named Plaintiffs, and the Section 1981
Class, including costs and fees associated with the implementation of this Decree.

15. All of the funds payable to the EEOC Settlement Class and the Section 1981
Settlement Class will be distributed in accord with the distribution process described in this

Decree at Paragraphs 28-39.

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CLAIMS ADMINISTRATOR

16. First Class, Inc., 5410 W. Roosevelt Rd., Unit 222, Chicago, Illinois 60644 shall
act as Claims Administrator who shall: (a) verify addresses using the national change of address
database and mail notices and forms relating to the settlement, claims forms, and claims notices;
(b) receive objections and other communications from Section 1981 Settlement Class members
regarding the settlement of the Section 1981 Class Action; (c) receive claims forms for the
Settlement Fund; (d) transmit notifications of monetary awards; (e) issue checks to eligible
Claimants from the Settlement Fund; (f) issue related tax documents; and (g) perform such other
administrative tasks as may facilitate the claims process.

17. Interest accrued by the Settlement Fund will be used to cover costs associated
with the distribution of the above funds to Claimants. To the extent accrued interest does not
cover these costs, all outstanding Claims Administrator costs shall be paid by YRC, including,
without limitation, all costs associated with the creation of the Settlement Fund, all costs to be
paid by the Claims Administrator, and all costs related to the issuance and mailing of notices and

checks in accordance with this Decree.

FAIRNESS HEARING/APPROVAL OF SETTLEMENT

18. The Section 1981 Class in the Chicago Ridge Section 1981 case has been certified
under Federal Rule of Civil Procedure 23(b)(3). Notice of the pendency of the Section 1981
Class Action was provided to the class through a notice published in the Chicago Tribune on
March 15, 2012, and a Notice mailed to every potential class member on March 16, 2012. The
initial Notice thoroughly described the litigation, the claims made by the Named Plaintiffs, the
issues involved and the rights of unnamed class members. It also notified unnamed class

members of their right to opt-out of the class action. The opt-out period ended on May 15, 2012,

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and no class member opted-out.

19. Notice to Settlement Class Members. Within 15 days after Preliminary

Approval, the Claims Administrator shall provide notice via first class mail using the updated
addresses obtained during the initial notice process to all Settlement Class members in a form
approved by the Court. The notice shall: (a) state that there is a proposed settlement of the
claims in the EEOC case and the Section 1981 case; (b) describe the cases, the terms of the
settlement, and that the eligible members of the Settlement Class may submit a Claim Form in
the claims process for monetary relief; (c) indicate that the Court will hold a hearing at which
time the Court will consider the fairness, adequacy and reasonableness of the proposed
settlement; and (d) indicate that Settlement Class members may submit written comments
regarding the settlement or appear at the Fairness Hearing. A copy of the Notice to be submitted
to the Court for approval is attached hereto as Exhibit B.

20. | YRC shall reasonably cooperate with the Claims Administrator, Section 1981
Class Counsel, and EEOC in identifying and locating Settlement Class members, The Claims
Administrator will perform a computer database trace for the current addresses of the Settlement
Class members formerly employed by YRC.

21; Fairness Hearing. A Fairness Hearing to consider the overall fairness,

reasonableness and adequacy of the proposed settlement of the EEOC case and the Section 1981
case shall be held approximately 75 days after Preliminary Approval, on a date specified by the

Court.

22. Appearance by Settlement Class Members at Fairness Hearing. Any member

of the Settlement Class may appear at the Fairness Hearing and be heard in opposition to the

overall fairness, reasonableness and adequacy of the proposed. Settlement Class members who

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wish to object to this Decree or any part of it may be heard at the Fairness Hearing only:
(a) if they file with this Court and serve on the Section 1981 Class Counsel,
EEOC, and Counsel for YRC, a written statement of their objection;
(b) where such statement is received by the Section 1981 Class Counsel,
EEOC, Counsel for YRC, and the Court 15 days prior to the Fairness
Hearing;
(c) where such statement indicates whether they intend to appear at the
Fairness Hearing; and
(d) if they contemporaneously notify Section 1981 Class Counsel, EEOC,
Counsel for YRC, and the Court, of their intention to appear at the
Fairness Hearing.
Such objectors may appear at the Fairness Hearing either in person or by counsel. Failure to
perform any of these requirements shall be deemed a waiver of any objections. The Parties may,
but need not, respond in writing to objections by filing a response with the Court.
23. If the Court approves the Decree at the Fairness Hearing, the Claims
Administrator shall mail notice of Final Approval of the Consent Decree to each Settlement
Class member within 10 days of the Fairness Hearing.

24. Release of Claims by EEOC. Upon Final Approval of the Decree, YRC Inc. and

Yellow Transportation, Inc., and their current and former shareholders, directors, officers,
managers, agents, creditors, employees, attorneys, insurers, and for each of the foregoing, their
respective parents, affiliates, subsidiaries, successors and assigns, shall be fully released and
forever discharged by EEOC from all issues and claims of EEOC arising from the Complaint

filed by EEOC in the EEOC Chicago Ridge Title VII case and the Charges of Discrimination

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and Amended Charges of Discrimination underlying this litigation filed by Charles Brown,
Jeffrey Burks, Antonio Colon, James DeMoss, Jameson Dixon, Clark Faulkner, Kenneth George,
Leonard Gregory, Marshun Hill, Mack Leonard, Laroy Washington, Darrell Williams, Charles
Woods, and Michael Woods. This release is final and shall survive the expiration of the

Decree’s term.

25. Release of Claims by the Section 1981 Settlement Class. Upon Final Approval

of the Decree, YRC Inc. and Yellow Transportation, Inc., and their current and former
shareholders, directors, officers, managers, agents, creditors, employees, attorneys, insurers, and
for each of the foregoing, their respective parents, affiliates, subsidiaries, successors and assigns,
shall be fully released and forever discharged from any and all individual and/or class-wide
claims, demands, complaints, rights and causes of actions of any kind, known or unknown, by
each member of the Section 1981 Settlement Class, including their heirs, assigns and estates,
whether seeking monetary and/or equitable relief of any sort, which arise out of or are related to
the underlying operative facts in any Charge of Discrimination, Amended Charge of
Discrimination, Complaint, Amended Complaint, or Complaint in Intervention filed by the
Plaintiffs which were, or could have been asserted, all of which are released, extinguished and
dismissed pursuant to this Decree. This release is final and shall survive the expiration of the

Decree’s term.

CLAIMS PROCESS

26. The Claims Administrator will send out claim forms (Exhibit C) to each member
of the Settlement Class, with the notice of settlement via first class mail. Settlement Class
members who seek to recover monetary compensation must complete a claim form and cause it

to be filed with the Claims Administrator within 75 days after the claim form is mailed. The

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claim form must be actually received by the Claims Administrator on or before such date in
order to be considered timely. It is the obligation of the Settlement Class member to ensure
receipt by the Claims Administrator of the claim form on or before the due date. All claim forms
must be signed under penalty of perjury to be considered. All Settlement Class members
(including the Intervening Plaintiffs/Section 1981 Named Plaintiffs) who have given a
deposition, provided a signed Affidavit, or returned an EEOC Questionnaire in this case shall be
considered to have filed a timely claim. EEOC, in its discretion, may require these Claimants to
provide additional information in support of their claims.

a. Late Claims. For claims received after the filing deadline, EEOC and
Section 1981 Class Counsel shall notify late-filing Settlement Class members that their claims
are untimely and that they are not eligible for any monetary award. EEOC or the Section 1981
Class Counsel may reverse the determination that a claim was not timely filed only if the
Settlement Class member proves that the untimeliness determination is erroneous.

b. Claims of Deceased Persons. Claims may be submitted on behalf of

Claimants who have died provided that a legally-authorized representative of their estate,
possessing appropriate documentation (letters testamentary, Small Estate Affidavit or the
equivalent), timely submits the required claim forms. Any claims paid to a deceased Claimant
shall be made payable to the estate of the deceased Claimant.

27. The Claims Administrator shall forward claim forms and_ supporting
documentation to EEOC and Section 1981 Class Counsel on a rolling basis.

DETERMINATION OF CLAIMS

28. Within 60 days of the deadline for receiving claim forms, EEOC shall make a

determination as to whether the Claimants who filed timely claims are eligible to receive a

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monetary award and, if so, EEOC shall determine the amount of each monetary award. In
making such determinations, EEOC may consider whatever evidence EEOC deems appropriate,
including, but not limited to, evidence received by EEOC in its investigation of the charges of
discrimination underlying this action, in connection with its litigation of this action, and in
connection with the claims process provided by this Decree. Ifa claim form is determined to be
incomplete by EEOC, EEOC may request additional information from the Claimant, if it appears
that such additional information would complete the claim form. The Claimant must provide the
requested information, signed under penalty of perjury, to EEOC by mail with a postmark no
later than 14 days from the date of the mailed request for information.

29. | EEOC may ask YRC to provide necessary information and data that has not
already been provided to EEOC or to Section 1981 Class Counsel to make award determinations.
YRC will respond to all reasonable EEOC requests for information relating to the Claimants
within 30 days of the receipt of the request, or as soon as practicable, by providing all responsive
documents and information available to YRC. The information requested by EEOC of YRC
pursuant to this Paragraph shall be limited to the Claimants’ job duties and titles, work histories,
dates of termination, dates of leave, and any other information that is reasonably available to
YRC relating to the Claimants.

30. | EEOC will determine the amount of each Claimant’s monetary award based on a
point system developed by EEOC and Section 1981 Class Counsel. This point system will take
into account several factors, including: (i) length of employment, (ii) dates of employment, (iii)
job assignments/classifications, (iv) the severity of the alleged harassment or discrimination, (v)
whether the alleged harassment or discrimination was personally directed at the Claimant, (vi)

the duration of the alleged harassment or discrimination, (vii) the extent of the alleged harm, (vii)

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whether the Claimant alleged to have been actually or constructively discharged, (viii) the
managerial status of the persons involved, (ix) whether the Claimant allegedly received more
difficult work assignments because of race, (x) whether the Claimant allegedly received shorter
breaks because of race, (xi) whether the Claimant allegedly received harsher or more frequent
discipline because of race, (xii) whether the Claimant allegedly failed to receive opportunities to
be a hostler/spotter, (xiii) whether the Claimant allegedly failed to be timely moved from a
casual position to permanent status, (xiv) whether the Claimant allegedly complained of
discrimination, (xv) the Claimant’s participation and cooperation with EEOC and the Section
1981 Class Counsel in the litigation of these cases, and (xvi) overall strength of the alleged claim
as determined by EEOC. The monetary award will constitute non-pecuniary compensatory
damages.

31. | EEOC’s determination of the amount of monetary relief to be received by the
Claimants under this Decree shall be submitted to the Section 1981 Class Counsel and approved
by the Court. YRC will not participate in or object to EEOC’s determinations.

32. Each of the Section 1981 Named Plaintiffs shall receive an incentive payment in
an amount to be recommended by the Section 1981 Class Counsel and EEOC, and approved by
the Court. These incentive payments will be in the range of $15,000.00 to $35,000.00, and shall
be in addition to the amount they are awarded through the claims process.

33. An amount of $100,000.00 will be set aside from the initial distribution in the
Settlement Fund to pay out to Claimants who have demonstrated an error in the claims process.
EEOC and the Section 1981 Class Counsel, with the approval of the Court, may make additional
payments to Claimants to correct errors in the claims process. Any money that remains in the

account after this process shall be added to the payments made to the Claimants in proportion to

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the amount of their award.

MOTION FOR APPROVAL OF DISTRIBUTION OF SETTLEMENT FUNDS

34, Within 14 days of the determination of all claims, EEOC and the Section 1981
Class Counsel shall file a motion with the Court seeking Approval of the Distribution of the
Settlement Fund among those eligible Claimants who have executed and timely returned their
claim forms and the required Release. In connection with this motion, EEOC and the Section
1981 Class Counsel shall (i) seek approval of the process developed by EEOC and Section 1981
Class Counsel pursuant to Paragraph 30, used to determine the distribution, and (ii) file a
proposed settlement distribution list, which shall contain the redacted name and proposed gross
settlement amount for each eligible Claimant, A non-redacted list shall be submitted to the Court
for in camera inspection, and filed under seal. YRC shall not challenge the proposed settlement
distribution list. After appropriate review, in connection with which EEOC shall provide any
information within EEOC’s possession that the Court requests, the Court will enter an Order
Approving the Allocation of the Settlement Funds and the distribution thereof pursuant to this

Decree.

NOTIFICATION OF AWARDS

35. Within 7 days of the Order Approving the Distribution of the Settlement Funds,
EEOC and Section 1981 Class Counsel shall cause the Claims Administrator to notify each
Claimant (both eligible Claimants as well as those not receiving a monetary award) via U.S, First

Class Mail of the amount of his/her monetary award, if any.

36. Along with the Notification of Award, the Claims Administrator shall mail to
each eligible Claimant a Release (a copy of which is attached hereto as Exhibit A). Each eligible

Claimant will be notified that in order to receive monetary payments under this Decree, he/she

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must execute and deliver to the Claims Administrator a Release, which will become effective
upon the Claimant’s receipt of his or her distribution. The letter will inform each eligible
Claimant that such Release must be signed and mailed to the Claims Administrator so that it is
actually received by the Claims Administrator within 45 days of the mailing of the Notification
of Award. Any eligible Claimant whose executed Release is not actually received by the Claims
Administrator within 45 days of the mailing of the Notification Award shall be ineligible for and
forever barred from receiving any relief under this Decree, unless EEOC and Section 1981 Class
Counsel determine that such individual is eligible to be paid out of the administrative error fund
(and provided that the Release is executed). The Claims Administrator shall promptly provide
all original signed Releases to YRC and provide copies to the Section 1981 Class Counsel and
BEOC.

ADJUSTMENT OF AWARDS DUE TO ADMINISTRATIVE ERROR

37. | Within 60 days of Approval of Distribution, EEOC and Section 1981 Class
Counsel may seek the Court’s approval to award money or adjust awards for Claimants due to
administrative error as provided in Paragraph 33. Any adjustment must take place within 60
days of Approval of Distribution. After 60 days, EEOC will instruct the Claims Administrator to
allocate any of the un-awarded money to the Claimants in proportion to the amount of their

award.

DISTRIBUTION OF SETTLEMENT FUND

38. | Within 70 days after the Court’s Approval of Distribution of Settlement Funds,
EEOC and the Section 1981 Class Counsel will send the Claims Administrator the final
settlement distribution list, including allocation of any un-awarded money that had been set aside

for administrative error. Within 7 days of receipt of the final distribution list, the Claims

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Administrator shall issue and mail checks to the eligible Claimants in the amount reflected in the
final settlement distribution list. The Claims Administrator will issue an IRS Form 1099 to each
Claimant reflecting the amount paid to that individual. The Court finds that the payments shall
constitute compensation for non-pecuniary damages and shall not be subject to any payroll
deductions. The Parties acknowledge that no party or its attorneys are making any
representations regarding the taxability or non-taxability of the payments to Claimants. As
directed by EEOC or Section 1981 Class Counsel, the Claims Administrator shall take further
steps in a timely manner to reach those Claimants who did not receive and/or deposit their

settlement checks.

SURPLUS FUNDS FROM CONSENT DECREE

39. In the event that any portion of the Settlement Fund, including accrued interest,
has not been distributed as required by this Decree after a period of 120 days has elapsed from
the date on which the settlement checks were mailed by the Claims Administrator, then such
remaining amounts from the Settlement Fund shall be provided to the Aurora/Quad County
Chapter of the Urban League, a non-profit organization jointly identified by EEOC and YRC that
serves the area of the YRC’s Chicago break bulk dock operation to further the job training and

hiring of minority workers.

SPECIFIC INJUNCTIVE PROVISIONS

40. The Court finds that the Chicago Ridge terminal closed on or before December
31, 2009, and that there are no operations currently in place at Chicago Ridge. There are
approximately 51 members of the Settlement Class on active status at Chicago Heights. In
addition, there are approximately 53 members of the Settlement Class on leave or layoff status at

Chicago Heights.

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41. Chicago Heights is already subject to a Consent Decree issued by this Court in the
consolidated cases of EEOC v. Roadway Express, Inc. and YRC, Inc., Case Nos. 06 CV 4805 and
08 CV 5555 and William Bandy, et al. v. Roadway Express, Inc. and YRC, Inc., Case No. 10 CV
5305 (“Chicago Heights Consent Decree”).

42, The Court has reviewed the Chicago Heights Consent Decree as amended by the
Order issued on June 27, 2012 (case no. 06-cv-4805, docket no. 193), and finds that it adequately
protects the interests of the Settlement Class and that there is no need for additional injunctive
relief concerning the EEOC Settlement Class and the Section 1981 Settlement Class members in
this case.

43. Within 10 days after Final Approval of the Consent Decree, YRC shall post
copies of the Notice attached as Exhibit D to this Decree at YRC’s Chicago break bulk dock
operation on the bulletin boards usually used by YRC for posting governmental notices directed
to employees. The Notice shall remain posted for the duration of the Chicago Heights Consent
Decree. YRC shall take all reasonable steps to ensure that the posting is not altered, defaced or
covered by any other material. YRC shall certify to the EEOC in writing within 10 days after
Final Approval of the Consent Decree that the Notice has been properly posted. YRC shall
permit the Monitor to enter YRC’s Chicago bulk break dock operation premises for purposes of
verifying compliance with this Paragraph at any time during normal business hours.

MISCELLANEOUS PROVISIONS

44. Counterparts. This Decree may be executed by the Parties in one or more
counterparts each of which shall be deemed an original but all of which together shall constitute
one and the same instrument. An executed photocopy shall be deemed an original.

45. Binding Upon Successors. The terms of this Decree shall be binding upon the

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